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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

In Re: Local TV Advertising Antitrust
Litigation, et al.
                                                  Plaintiff,
v.                                                             Case No.: 1:18−cv−06785
                                                               Honorable Virginia M.
                                                               Kendall
Hearst Television Inc., et al.
                                                  Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, August 10, 2021:


        MINUTE entry before the Honorable Virginia M. Kendall. Status hearing set for
10/18/2021 at 10:00 AM which will proceed via Video Conference. Members of the
public and media will be able to call in to listen to this hearing. The call−in number is
1−650−479−3207 and the call−in Access Code is 180 698 4009. Any party calling in is
reminded to please mute their phones/devices. Counsel of record will receive an email
invitation prior to the start of the video hearing with instructions to join the video
conference. Mailed notice(lk, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
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